16-13500-mkv         Doc 464        Filed 06/26/19        Entered 06/26/19 14:08:49               Main Document
                                                        Pg 1 of 3


 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
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                                                                :
 In re:                                                         :         Chapter 7
                                                                :         Case No. 16-13500 [MKV]
 GRACIOUS HOME LLC, et al.,                                     :
                                                                :         (Jointly Administered)
                                             Debtors.1          :
                                                                :
 -------------------------------------------------------------- X

              ORDER AUTHORIZING DISCOVERY PURSUANT TO RULE 2004
               OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

                   Upon the application (the “Application”)2 [ECF No. 462] of Albert Togut, not

 individually but solely in his capacity as the Chapter 7 trustee (the “Trustee”) of the estates of

 Gracious Home LLC, et al. (the “Debtors”) in the above-captioned case, for an order pursuant to

 Bankruptcy Rule 2004, authorizing the issuance of subpoenas for the production of documents

 and information and deposition testimony; and the Court having jurisdiction to consider the

 Application and relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334; and it appearing

 that adequate service having been given to all Notice Parties [ECF No. 463]; and the relief

 requested therein being a core proceeding under 28 U.S.C. § 157(b) and venue being proper

 before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and the relief being in the best

 interests of the Debtors, their estates, their creditors, and other parties in interest; and it appearing

 that good and sufficient cause for the relief sought in the Application exists, it is hereby:




 1
           The Debtors in this Chapter 7 case and the last four digits of their tax identification numbers are: Gracious
 Home Holdings LLC (3251); Gracious Home Payroll LLC (3681), Gracious Home LLC (3251); GH East Side
 LLC (3251); GH West Side LLC (3251); GH Chelsea LLC (3251) and Gracious (IP) LLC (3251). The latter five
 entities are disregarded for tax purposes and do not have their own tax identification numbers, but use that of
 Gracious Home Holdings LLC. The address of the Debtors’ corporate headquarters was 1201 Third Avenue, New
 York, New York 10021.
 2
     Capitalized terms not defined herein shall have the meanings ascribed in the Application.
16-13500-mkv       Doc 464     Filed 06/26/19     Entered 06/26/19 14:08:49       Main Document
                                                Pg 2 of 3


                ORDERED, that the Application is granted to the extent provided herein; and it

 is further

                ORDERED, that the Trustee is authorized to issue subpoenas for the production

 of documents and for deposition testimony consistent with Rules 2004 and 9016 of the Federal

 Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), concerning any asset, liability, duty,

 obligation, contract, transaction, or other issue related in any way to the Debtors upon: any

 current or former employee, principal, agent, officer, shareholder or owner of the Debtors; any

 entity that has conducted business or engaged in a transaction with the Debtors, in any manner,

 and any current or former employee, principal, agent, officer, board member, shareholder or

 owner thereof; any accountant or financial advisor for the Debtors, and any current or former

 employee, principal, agent, officer, or owner thereof; and it is further

                ORDERED, that subpoenas authorized by this Order may be served by FedEx or

 any other method of service permitted under Bankruptcy Rule 9016 or by other means agreed to

 by the subpoenaed parties; and it is further

                ORDERED, that the Trustee shall serve a copy of this Order with any subpoena

 that he serves pursuant to the Order; and it is further

                ORDERED, that any subpoena issued pursuant to this Order shall provide at least

 14 days notice to the recipient to provide the recipient an opportunity to object in writing to the

 subpoena or to file any written motion with the Court; and it is further

                ORDERED, if any entity or person who receives a subpoena for the production

 of documents pursuant to this Order withholds any documents on the basis of an asserted

 privilege, that entity is directed to provide a privilege log in accordance with Bankruptcy Rule

 7026 to Seward & Kissel LLP, One Battery Park Plaza, New York, NY 10004, Attn: John R.




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16-13500-mkv         Doc 464   Filed 06/26/19     Entered 06/26/19 14:08:49         Main Document
                                                Pg 3 of 3


 Ashmead, Esq., so as to be received with the document production required by the subpoena, or

 at such time as may be mutually agreed to by the Trustee and the subpoenaed entity or person;

 and it is further

                 ORDERED, that entry of this Order is without prejudice to the rights of the

 Trustee to seek any other or further relief, including, but not limited to, further relief under

 Bankruptcy Rule 2004; and it is further

                 ORDERED, that the Court shall retain jurisdiction to hear and determine any and

 all matters arising from the interpretation and/or implementation of this Order.


 Dated: New York, New York
        June 26, 2019
                                                 s/ Mary Kay Vyskocil
                                              HONORABLE MARY KAY VYSKOCIL
                                              UNITED STATES BANKRUPTCY JUDGE




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